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          /s/ Robert J. Dehney                          8/31/2023
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                     RESOLUTIONS OF THE BOARD OF MANAGERS

                                                   OF

                                          SG-TMGC, LLC

        These Resolutions were adopted by unanimous written consent the 30th day of August,
2023.

               RESOLVED that, in the business judgment of the Board of the Company,
        due to the circumstances affecting the Company and to maximize value, it is
        desirable and in the best interests of the Company, its creditors, stockholders,
        customers and other interested parties that a petition should be filed by the
        Company seeking relief under Chapter 11 of the Bankruptcy Code (the “Chapter
        11 Case”), and the filing of such petition is authorized hereby; and it is further

               RESOLVED that the Company Chairman as a duly elected Officer of the
        Company (the “Authorized Officer”) in such capacity is individually hereby
        authorized, empowered and directed on behalf of the Company to execute, deliver
        and verify a petition in the name of the Company under Chapter 11 of the
        Bankruptcy Code and to cause the same to be filed in the United States Bankruptcy
        Court for the District of Delaware (the “Bankruptcy Court”) in such form and at
        such time as the Authorized Officer executing said petition on behalf of the
        Company shall determine appropriate, and the execution and delivery thereof by
        such Authorized Officer shall be conclusive evidence of such Authorized Officer’s
        determination and the Directors approval thereof; and it is further

                RESOLVED that the Authorized Officer, be and hereby is, authorized,
        directed and empowered, on behalf of and in the name of the Company, to execute,
        deliver, verify, and/or file, or cause to be filed and/or executed or verified (or direct
        others to do so on his behalf as provided herein) all documents necessary or
        appropriate in connection with the filing of said bankruptcy petition, including,
        without limitation, all petitions, affidavits, schedules, motions, lists, applications,
        pleadings, and other papers, in such form as the Authorized Officer shall determine
        appropriate, such execution, delivery, verification and/or filing to be conclusive
        evidence of such Authorized Officer’s determination and this Board’s approval
        thereof and in that connection to employ and retain all assistance by legal counsel,
        accountants and other professionals and to take any and all action which he deems
        necessary or proper in connection with the Chapter 11 Case, with a view to the
        successful prosecution of such case; and it is further

               RESOLVED, that the Authorized Officer in the name and on behalf of the
        Company be hereby is, authorized, empowered, and directed, in the name and on
        behalf of the Company, to negotiate post-petition debtor-in-possession financing
        on behalf of the Company and to file or cause to be filed a motion with the
        Bankruptcy Court seeking approval of such financing; and it is further

             RESOLVED, that the Authorized Officer in the name and on behalf of the
        Company be and hereby is, authorized, empowered, and directed, in the name and
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on behalf of the Company, to negotiate a sale or sales of some or all of the assets
of the Company and to file or cause to be filed a motion with the Bankruptcy Court
seeking approval of such sale or sales; and it is further

        RESOLVED that the law firm of Rayburn Cooper & Durham, P.A., 227
West Trade Street, Suite 1200, Charlotte, North Carolina 28202, is hereby
employed as attorneys for the Company in the Chapter 11 Case and in related
matters, on such terms and conditions as the Authorized Officer shall approve and
said firm shall agree; and it is further

        RESOLVED that the law firm of Morris, Nichols, Arsht & Tunnell LLP,
1201 North Market St., 16th Floor, Wilmington, Delaware, 19899, is hereby
employed as attorneys for the Company in the Chapter 11 Case and in related
matters, on such terms and conditions as the Authorized Officer shall approve and
said firm shall agree; and it is further

        RESOLVED that Rose Law Firm, a Professional Association, 120 East
Fourth Street, Little Rock, Arkansas, 72201, is hereby employed as corporate
counsel for the Company in the Chapter 11 Case and in related matters, on such
terms and conditions as the Authorized Officer shall approve and said firm shall
agree; and it is further

        RESOLVED that the Authorized Officer be, and hereby is, authorized on
behalf of and in the name of the Company, as debtor and debtor-in-possession, to
enter into and to execute and deliver such agreements, instruments and any and all
other documents and amendments that the Authorized Officer determines necessary
or appropriate to facilitate the transactions contemplated by the foregoing
resolutions; and it is further

       RESOLVED that the Authorized Officer be, and hereby is, authorized, in
the name and on behalf of the Company to take or cause to be taken any and all
such further action and to enter into and to execute and deliver or cause to be
executed or delivered all such further agreements, documents, certificates and
undertakings, and to incur all such fees and expenses as in his judgment shall be
necessary, appropriate or advisable to effectuate the purpose and intent of any and
all of the foregoing resolutions, as the Authorized Officer shall determine
necessary, proper or desirable, such taking of action and/or execution and/or
delivery of such documents to be conclusive evidence of such Authorized Officer’s
determination and this Board’s approval thereof and it is further

       RESOLVED that all actions previously taken by the Authorized Officer in
the name and on behalf of the Company in furtherance of any or all of the
proceeding resolutions be, and the same hereby are, ratified, confirmed and
approved as acts of the Company; and it is further

      RESOLVED that the Board hereby confirms that these resolutions supersede
any prior resolutions of the Board, if any, that are inconsistent with these resolutions
solely to the extent of any such inconsistency; and it is further


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      RESOLVED that the Board hereby authorizes the Secretary or any Assistant
Secretary of the Company to make such corrective or minor modifications or
additions to the foregoing resolutions as shall be deemed necessary or appropriate,
so long as the resolutions, as so modified or supplemented, effect the intent and
purposes of these resolutions.

          RESOLVED that these resolutions may be executed in one or more
counterparts, each of which shall be deemed to be an original and all of which
together shall constitute one and the same instrument for purposes of these
resolutions, a facsimile copy, an email of a PDF file containing a copy of the
signature page or the electronic signature of any person executing these resolutions
shall be effective as an original signature and effective as an execution counterpart
thereof.

          RESOLVED that these resolutions shall be recorded as minutes of the
 Board.




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